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   1                                   UNITED STATES BANKRUPTCY COURT

   2                                    FOR THE DISTRICT OF NEW JERSEY

   3 In re                                                      Case No. 3:23-bk-18993-MBK
                                                                (Jointly Administered)
   4     RITE AID CORPORATION, et al.,
                                                                Chapter 11
   5                                   Debtor.
                                                                NOTICE OF WITHDRAWAL FROM
   6                                                            CASE, REQUEST TO STOP
                                                                ELECTRONIC NOTICES
   7                                                            AND REQUEST FOR REMOVAL FROM
                                                                SERVICE LIST
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  10            PLEASE TAKE NOTICE that by the filing of this Notice of Withdrawal from Case,

  11 Request to Stop Electronic Notices and Request For Removal From Service List ("Notice") the

  12 undersigned counsel for Panther Lake Property Owner, LLC ("Panther Lake"), a creditor,

  13 withdraws his appearance and requests that he be removed from this Court's electronic service list

  14 for this case.

  15                                                Dean G. Rallis Jr.
                                                  HAHN & HAHN LLP
  16                                        301 E. Colorado Blvd., Ninth Floor
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       DATED: July 7, 2025                                    /s/ Dean G. Rallis Jr.
  21                                                  Dean G. Rallis Jr.
                                                      HAHN & HAHN LLP
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   1                                       CERTIFICATE OF SERVICE

   2            I HEREBY CERTIFY that on July 7, 2025, I electronically filed the foregoing with the Clerk
   3 of Court by using the Case Management/Electronic Case Filing (“CM/ECF”) system which will send

   4 a notice of electronic filing on all parties who are scheduled to receive notice through the Court’s

   5 CM/ECF system.

   6                                                       /s/ Jessica L. Evans
                                                   Jessica L. Evans
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